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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative          CASE NO.: 9:18-cv-80176-BB/BR
   of the Estate of David Kleiman, and W&K Info
   Defense Research, LLC

          Plaintiffs,

   v.

   CRAIG WRIGHT

          Defendant.

                               PLAINTIFFS’ MOTION TO SEAL
         Pursuant to the Court’s order at ECF No. [382], Plaintiffs will be filing a motion seeking

  reconsideration of various discovery rulings from the Court.

         Craig has marked one of the exhibits included in this filing as “confidential.” Plaintiffs do

  not believe the Tulip Trust III document should be sealed, but believe Craig should be afforded

  the opportunity to propose redactions to the Court.

         Accordingly, Plaintiffs make this motion to seal to comply with the Stipulated Confidential

  Order and the Local Rules of this Court.

         WHEREFORE, Plaintiffs request Defendant be given 10 days to provide proposed

  redactions to the Court.



   Dated: February 4, 2020                   Respectfully submitted,

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                                          Counsel to Plaintiffs Ira Kleiman as Personal
                                          Representative of the Estate of David Kleiman and
                                          W&K Info Defense Research, LLC.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 4, 2020, a true and correct copy of the foregoing
  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




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